The court finds upon the issues joined in favor of the respondent, it appearing from the record that, on relator's appeal to the common pleas court from his denial of compensation, neither the verdict of the jury nor the judgment of the court purported to give the relator any lump or fixed sum; nor had the court any authority so to do. State, ex rel.Kauffman, v. Industrial Commission, 121 Ohio St. 472. The judgment of the trial court certified to the commission was that the relator "is entitled to participate in the workmen's compensation fund of the Industrial Commission of Ohio, and hereby orders compensation to be paid to him in the manner provided by the workmen's compensation law." It does not appear from the record that the respondent refuses to act under that order; had it so appeared a writ of mandamus would be allowed. The answer of the respondent alleges that it is willing to pay compensation for loss of vision and has requested the relator to submit to examination so that it may be determined whether there is a total loss of vision to his injured eye; and that the relator refuses to submit himself to such examination. Such being the state of the record, judgment for the respondent will be rendered upon the pleadings, but without prejudice to the relator should the commission hereafter refuse to act.
Writ denied.
WEYGANDT, C.J., DAY, ALLEN, STEPHENSON, JONES and MATTHIAS, JJ., concur. *Page 41 